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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                 8:07CR245
       vs.                                      )
                                                )                   ORDER
TORY D'MARLO LEWIS,                             )
                                                )
                     Defendant.                 )


        This matter is before the court on the defendant's motion for additional time to file
pretrial motions [33]. For good cause shown, the court finds that the motion should be
granted.

       IT IS ORDERED that the motion [33] is granted, as follows:

      1. The deadline for filing pretrial motions is extended to August 31, 2007 as
defendant Lewis.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between August 27, 2007 and August 31, 2007, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED August 27, 2007.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
